 

Case 1:18-cv-00716-SHR-EB Document 1 Filed 04/03/18 Page 1 of 25

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Name and Prisoner/Booking Namber
it 1 ‘a be ‘ *
Place of Confinement

P.0. Bor 100

Mailing Address

Louris bors, Pas (2832
City, State, Zip Cade
(Failure to notify the Court of your change of address may result in dismissal of this action.)

 

 

IN THE UNITED STATES DISTRICT COURT

 

 

 

 

 

 

 

)
Camalen Baclour ef al , )
{Full Name of Plaintiff} Plaintiff, ) |
| -1¢
VS. ). CASE NO. " CV q | (
) (To be supplied by the Clerk)
(1) Waren Dey rol F Ebbert of bers burg usp }
{Full Name of Defendant) . )
2 6 . )
) CIVIL RIGHTS COMPLAINT
3 8 ' : ; :) BY A PRISONER
. )
(4) ) {Ki Original Compiaint
Defendant(s). ) C1} First Amended Complaint
[] Check ifthere are additional Defendants and attach page 1-A listing them. ) Cc) Second Amended Complaint
A, JURISDICTION ‘

1. This Court has jurisdiction over this action pursuant to:

Ld 28 U.S.C. § 1343(a); 42 U.S.C. § 1983
I 28 U.S.C. § 1331; Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971).

C] Other:

 

2. Institution/city where violation occurred: Amifea! States Peniterstiary beci'shurg J hows shurg, Pas.

550/555

Revised 3/9/07
 

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B. DEFENDANTS

1. Name of first Defendant: _Paviel J. Ebbert . The first Defendant is employed as:
Compley Warden at_Aetwi's harg USP .

(Position and Title)

2. Nameofsecond Defendant: {First Nome anknot ns Reuben olorf. The second Defendant is employed as as:

(institution)

 

 

 

 

Special tnstitudioral Seenr ty Offtcer at_Lewsi's Auce, “use
{Position and Title) (Institution)
3. Name of third Defendant: (Fi'tt Mame tanlengean) Tharp The third Defendant ts employed as:
torrectlonal otkveer crcl tounseloc af B-hlock at_powrs bes usp ,
(Position and Title) (Institution)
4. Name of fourth Defendant: . The fourth Defendant is employed as:
at

 

(Position and Title} (nstitution}

If you name more than four Defendants, answer the questions listed above for each additional Defendant on a separate page.

C. PREVIOUS LAWSUITS

i. Have you filed any other lawsuits while you were a prisoner? L1 Yes XI No
2. if yes. how many lawsuits have you filed’? . Describe the previous lawsuits:

a. First prior lawsuit:
1. Parties: Vv.
2. Court and case number:
3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)

 

 

b. Second prior lawsuit: —
I. Parties: Wee
2. Court and case number:
3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)

 

 

c. Third prior lawsuit:
] Parties: Vv.
2. Court and case number:
3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)

 

 

If you filed more than three lawsuits, answer the questions listed above for each additional lawsuit on 2 separate page.
 

D. CAUSE OF ACTION

 

 

COUNT I
1. State the constitutional or other federal civil right that was violated: 58 Ameaalmint Oboe Dine Process
2. CountI. identify the issue involved. Check only one. State additional issues in separate counts.
CJ Basic necessities [x] Mail [_] Access to the court Li Medical care
CJ Disciplinary proceedings C Property [_] Exercise of religion C) Retaliation
C] Excessive force by an officer LJ Threat to safety (] Other:
3. Supporting Facts. State as briefly as possible the FACTS supporting Count I. Describe exactly what

each Defendant did or did not do that violated-your rights. State the facts clearly in your own words without

citing legal authority or arguments.

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4.

Injury. State how you were injured by the actions or inactions of the Defendant(s).

 

 

 

5.

Administrative Remedies:
a. Are there any administrative remedies (grievance procedures or administrative appeals) available

at your institution? Yes LINo
b. Did you submit a request for administrative relief on Count I? (Ml Yes . LINo
c. Did you appeal your request for relief on Count I to the highest level? Cl Yes DtNo
d. Ifyou did not submit or appeal a request for administrative relief at any level, briefly explain why

 
 

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COUNT II
State the constitutional or other federal civil right that was violated: pz Armenclant Ky bat re redness

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Srremaness.
Pd

2.

3.

Count II. Identify the issue involved. Check only one. State additional issues in separate counts.
[1] Basic necessities CL) Mail [Xl Access to the court [| Medical care

(J Disciplinary proceedings LJ Property [J Exercise of religion LJ Retaliation
[J Excessive force by an officer [J Threat to safety LJ Other:

 

Supporting Facts. State as briefly as possible the FACTS supporting Count II. Describe exactly what

each Defendant did or did not do that violated your rights. State the facts clearly in your own words without
citing legal authority or arguments.

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injury. State how you were injured by the actions or inactions of the Defendant(s).

 

 

 

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5. Administrative Remedies.

a. Are there any administrative remedies (grievance procedures or administrative appeals) available

at your institution? it Yes LINo
b. Did you submit a request for administrative relief on Count 11? Kl Yes LINo
c. Did you appeal your request for relief on Count I] to the highest level? Ll Yes KINo

d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why

you did not. fefer to Auaber ¥ abou and th, atte heel "\Cranpiloande

 

 
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COUNT Ill
State the constitutional or other federal civil right that was violated: _J'sermnat zon

 

3.

Count III. Identify the issue involved. Check only one. State additional issues in separate counts.

C) Basic necessities . [) Mail CT Access to the court LJ Medical care
LJ Disciplinary proceedings CL] Property LJ Exercise of religion (Jj Retaliation
C] Excessive force by an officer [1] Threat to safety iM] Other: farpe ie cscryin bn,

Supporting Facts. State as briefly as possible the FACTS supporting Count III. Describe exactly what

each Defendant did or did not do that violated your rights. State the facts clearly in your own words without

citing legal authority or arguments.
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4,

Injury. State how you were injured by the actions or inactions of the Defendant(s).

 

 

 

5.

Administrative Remedies.
a. Are there any administrative remedies (grievance procedures or administrative appeals) available

at your institution? M1 ¥es (LINo
b. Did you submit a request for administrative relief on Count III? [Alves CINo
c. Did you appeal your request for relief on Count IIT to the highest level? (J Yes No

d. Hf you did not submit or appeal a request for administrative relief at any level, briefly explain why
you did not. tu A a alt Hh -
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if you assert more than three Counts, answer the questions listed above for each additional Count on a separate page. “?

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E. REQUEST FOR RELIEF

   

State the relief you are seeking:

 

 

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I declare under penalty of perjury that the foregoing is true and correct.

  

Executed on Wheek 2¢ an Fadel
DATE SIGNATURE OF PLAINTIFF

Wotth gfe. le Tamate HLISPE-OO%
(Name and title of’paralegal, legal assistant, or

other person who helped prepare this complaint)

Weo2L22

(Signature of ettemey, if any)

 

 

 

 

(Attomey’s address & telephone number)

ADDITIONAL PAGES

All questions must be answered concisely in the proper space on the form. [f you need more space, you may
attach no more than fifteen additional pages. But the form must be completely filled in to the extent
applicable. If you attach additional pages, be sure to identify which section of the complaint is being continued

and number all pages.
Case 1:18-cv-00716-SHR-EB Document1 Filed 04/03/18 Page 7 of 25 a

In The Uniteel States Distret Court
For The Middle District of feansylvania

  
 

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‘U.S. Department of Justice

Federal Bureau of Prisons
United States Penitentiary
2490 Robert F. Miller Drive

P. 0, Box 1000

Lewisburg, PA 17837

 

 

NOTICE OF ENHANCED RESTRICTIONS
ON INCOMING GENERAL CORRESPONDENCE

Effective immediately, you are being placed on enhanced
restricted General Correspondence. Until further notice, you
receive a photocopy of your incoming general correspondence.
The original will be maintained for 60 days and then destroyed.
Personal photographs will be stored in your property.

Per Program Statement 5265.14, Correspondence, “[t]he Warden
shall establish and exercise controls to protect individuals,
and the security, discipline, and good order of the institution.
The size, complexity, and security level of the institution, the
degree of sophistication of the inmates confined, and other
variables require flexibility in correspondence procedures.”

 

 
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Hi son

Going to try to write you and send some more of the book it is the index stuff that is all is left. I'ma
little confuse the book I have been sending is the book on the law of negotiable instruments and you are
asking me for it have I goting the wrong thing any let know and will try again if that not what you
wont also received a litter from Robert and I was glad I got it and im sure you are too. Will be sending
it with this mail.I also sent 150:00 more and hope that will keep you in money for a while when you
run short let me know I will try and keep up this time. Yes I did receive the letter tell me about Valerie
and the book redemption manual and I hadigot the book yet so I wont be looking for that scents Valerie
as got for you.im glad that Valerie and Rosales are on broad now and will help me as for as looking up
books. I was thinking about investing incrypo-currency glad I didt im sure there stock took a nose dive
but any way I don’t know much about the stock market will have to wait tell you get out of that great
place you are in. Sorry you got rejected but you know how they are there so it should not surprise you.
Do what you have to do just cause your self trouble I wont you out as sone as possible. I’m only busy
of and on not pushing it the government is trying to shut down and it dose mess with my pay check sof
witch they would settle this bullshit and get on with life. By the way I did tell Valerie to send 50 copes
at a time and to send the main parts of the first then the rest latter. And the re caps are good for me I’m
doing all right just stay a little tired most of the time misty is doing the same I ges that is OK she just
keeps going the same way I do just are old age. Angel is the same tall and skine . Weather you wont
believe it ben in the high 70s and low 80s can you believe that it is Tucson for you will be a hot
summer J bet. I had shaun address but like a dum ass ! deleted it will try next time I write if I can
remember .He is going to court 14 feb and looks like he will be losing his driver license for a year and
about 2,000.00 in finds all together around 10,000.00 a lot of money but that is DUT fore you, will I am
going to close now and will write every change I get Love all ways DAD.

Fils tht bs THE fates 2 3an-0 70 You THET™

Wits Po pad

 

Hi son ,

Just got some retcun mail from the Warden there which had the last part of the Negotiable insttruments
and I also had roberts letter in it and I belive that is why it was return . I look up Title 28 and it is all
about the mail you can receive. im going to write the warden and ask what part of that retum was
prohibited and that way I will knew for sure. [ hope it is not the copys of the book but will fine out
when he writes me back. Beside that every thing is going good for me not much part time work for a
while and that is ok for me. I havent heard from you for over a week hope you are not in trouable and

' that you are doing good.Going to send the letter that was in the page of the book that way you can see

what I wrote. In about two years Im going to retire for good no more work if I live that long some times
im not sure I will make it my old ticker is ating up some and rest of the old body is going hay wire to
but will not quite un less the good lord call me home but im sure that wont be soon. So dont get all
upset im still hanging in there. Misty is doing good she get tired a lot but I belive the job she has in
getting to here a little now but she wont say so . Will going to close for now and write the warden wich
me luck love you DAD.
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Inmate Name:
Register Number:
United States Pent
PO. Boxif00
Lewisburg, PA 17837, -

 

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